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                             EXHIBIT 1
               to Plaintiffs’ Motion for a Preliminary Injunction
                          and a Stay Under 5 U.S.C. § 705




Doe et al. v. Noem et al., 1:25-cv-10495-IT (D. Mass.)
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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                              Plaintiffs,


                                                         Civil Action No.: 1:25-cv-10495-IT
        – versus –



 KRISTI NOEM, in her official capacity as Secretary
 of Homeland Security, et al.,

                              Defendants.

                         DECLARATION OF ALEJANDRO DOE

I, Alejandro Doe, upon my personal knowledge, hereby declare as follows:

       1.     I was born in Diriamba, Nicaragua, in May 2000. I am a national of Nicaragua.

       2.     I currently live in Gainesville, Georgia. I have lived in Gainesville since I entered

              the United States.

       3.     I entered the United States under the parole process for Nicaraguans, a component

              of the CHNV parole processes announced on January 6, 2023. My cousin—a U.S.

              citizen who lives in Washington—sponsored me through the program. I received

              travel authorization on May 15, 2024, and arrived in the United States on July 29,

              2024. After spending hours at inspection at the airport, officers granted me a

              temporary two-year stay in the United States. I received work authorization

              pursuant to my parole in September 2024.

       4.     I fled Nicaragua because of the physical danger my family faced and the untenable

              economic reality.
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5.   In 2018, demonstrators in several Nicaraguan cities began protests against social

     security reforms decreed by President Daniel Ortega that raised income and payroll

     taxes while reducing pension benefits. The demonstrations—mostly involving

     elderly individuals, university students, religious leaders, and other activists—were

     immediately and heavily oppressed, and government and pro-government militia

     and security forces used live ammunition on protestors. Dozens of people were

     killed and scores injured in the initial days. After only a few months, the death toll

     reached upwards of three hundred. Countless others were imprisoned.

6.   Despite my fear, I attended marches with my family and friends, aware of the risks

     but determined to speak out for the lives lost and the injustices suffered. However,

     the Nicaraguan government eventually linked my family to the protests, actively

     persecuting my uncle and cousins. One day, government actors illegally raided my

     grandmother’s house looking for them, but after an unsuccessful search, abducted

     my father from her home instead. All along the way to prison, they violently

     interrogated him, beating him in the ribs.

7.   Once there, prison staff continued to torture him. They would beat and

     psychologically abuse him, telling him that they were going to kill him and that he

     would never leave the prison. In the three days he spent in prison, the guards

     provided him food on only two occasions.

8.   When the government released my father, he was labeled an opponent of the

     regime, and our family decided we needed to leave the country. We felt we had no

     other option. When the United States announced the parole process for Nicaragua,

     my cousin, a U.S. citizen, submitted an application to sponsor my father. In August




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      2023, my father lawfully entered the U.S. with parole status. In 2024, my siblings

      and I followed him, also having been sponsored and having received parole status.

9.    In Nicaragua, the sociopolitical and economic situation makes it very difficult to

      earn a living wage. I held various jobs to provide for myself and my family, working

      as a tattoo artist and a street vendor. Together between these jobs, I averaged about

      $500 per month.

10.   I also studied Integral Communication Design at Universidad Politécnica de

      Nicaragua (Polytechnic University of Nicaragua). However, my school was one of

      the epicenters of the 2018 protests and subsequent governmental repression, and I

      was unable to return to school for some time. The government eventually seized

      control of my university, stripping its legal registration and renaming it to bring it

      under government management and control. By that point, I needed to work full-

      time to provide for myself and my family and I was not able to finish my studies.

11.   When I arrived in the U.S., it took some time to adapt to the many differences

      between Nicaragua and Georgia, including the food, climate, and the length of day.

      In Nicaragua, the length of day does not change much throughout the year given its

      proximity to the equator—the sun sets between 5:00–6:00pm. But when I arrived

      in Gainesville, the sun did not set until around 9:00pm. It also gets much colder in

      Gainesville. Nonetheless, the community in Gainesville is very welcoming and

      united.

12.   After I received work authorization in September 2024, I found work the following

      month producing marble bathroom panels. I have learned this trade since arriving

      in the United States.




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13.   I first heard rumors about the termination of the CHNV parole processes toward

      the end of January, including that existing grants of parole could be revoked. This

      made me feel extremely worried about my family’s safety and wellbeing. It was

      my goal to save as much money as possible while in the United States to have a

      better chance of success in Nicaragua upon our return.

14.   We are good people looking for a better future. We strive to follow the legal

      avenues to travel to the United States, even at great personal and financial sacrifice.

      My family sold many of our possessions to make the trip to the United States. But

      I found a sponsor for parole, I paid for my own flight, and I waited to work in the

      United States until I had work authorization. I pay taxes. I am self-sufficient here,

      and pay for everything I need, including my own rent each month.

15.   After all my family’s sacrifice and efforts to follow the law, the prospect of having

      our parole cancelled, losing work authorization, and being subject to deportation

      feels like a betrayal. It would be devastating. We would lose everything we have

      worked so hard to achieve, and we would likely be forced to break apartment leases

      we have entered into, rendering us homeless. Because of this fear, my family and I

      have been sharing our bank account passwords with one another in case anything

      were to happen.

16.   I am afraid to leave my apartment. I have heard rumors and seen news of

      immigration officials showing up at jobsites, and while I was granted parole, I feel

      like I am in limbo and could be swept up in an enforcement action. Because I have

      to work to survive, however, I cannot afford to stay home from work. I am also




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      Catholic, and frequently attend religious services, but I have been staying home

      recently due to this fear.

17.   On January 21, 2025, I submitted an application for asylum (Form I-589) based on

      my family’s political persecution to United States Citizenship and Immigration

      Services, and on February 7, 2025, I traveled to Atlanta, Georgia to provide

      biometrics. Knowing I had a chance of asylum gave me some small degree of hope

      in the face of a sudden parole termination.

18.   That is, until I learned the Trump administration also indefinitely paused processing

      all immigration applications from individuals who entered the U.S. pursuant to

      parole. This came as a gut punch. We are overwhelmed—parole and asylum were

      the only avenues that could keep my family safe. If we are no longer permitted to

      remain in the U.S., we would have to look for alternatives to go somewhere else,

      because we cannot safely return to Nicaragua.

19.   For years, the Nicaraguan government has kept a close eye on individuals who

      apply for asylum in other countries, as it views those people as political dissidents.

      What’s more, the Parliament loyal to the Ortega-Murillo dynasty recently engaged

      in law reform legalizing the banishment and denial of entry or exit to people

      deemed to be critics of Nicaragua, including Nicaraguan citizens. It is my

      understanding that thousands of individuals have been already stripped of their

      nationality and exiled, and I am aware of various individuals granted humanitarian

      parole in the United States that have been denied reentry into Nicaragua in the past

      few weeks. I am worried about what will happen if we are deported and cannot




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               reenter Nicaragua, or what will happen to my family given my family’s history of

               political persecution by the State.

       20.     Maintaining my parole status and continuing with my asylum application is critical

               for me, my family, and the community we are a pad of. I am participating in this

               lawsuit so that I, along with other individuals who are in the same position, can

               have our applications for immigration benefits processed, as they should be.

       21.     I am willing to serve as a class representative on behalf of those who am similarly

               situated to me.

       22.     I know that if the class is certified, I will be representing more than just myself in

               this case. I have spoken with the lawyers who represent me about what being a class

               representative means. I want to help everyone in my situation because we are all

               harmed by the indefinite pause on the processing of immigration applications

               benefits.

       23.     For all of the above reasons, however, I fear having my real name become public

               in this lawsuit. I fear that if the U.S. government knows that I am participating, it

               will retaliate against me and my family and deport us all to Nicaragua. I fear that if

               we are deported, the Nicaraguan government will retaliate against us in turn as

               parolees, as asylum-seekers, and as a family previously designated by the

               government as “defectors” and “traitors.” If I am not permitted to use a pseudonym

               in this lawsuit, I will likely decide not to participate. I cannot risk my safety and

               that of my family.

I declare under penalty of perjury and under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.




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               CERTIFICATE OF INTERPRETATION AND TRANSCRIPTION

I, Brandon Galli-Graves, certify that I am fluent in English and Spanish, that I am competent to

interpret between these languages, and that I transcribed the foregoing between English and

Spanish accurately. I further certify that I provided a translation of the foregoing to Alejandro

Doe in Spanish and that he affirmed that it is true and correct.




Executed: 2/28/2025                           _________________________________
                                              Brandon Galli-Graves
